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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cev-2768

STATE OF COLORADO and
SECRETARY OF STATE JENA GRISWOLD,

Plaintiffs,

V.

LOUIS DEJOY, in his official capacity as Postmaster General;

UNITED STATES POSTAL SERVICE;

SAMARN S. REED, in his official capacity as the Denver, Colorado Postmaster; and
CHRIS J. YAZZIE, in his official capacity as the Albuquerque, New Mexico
Postmaster,

Defendants.

 

DECLARATION OF JUDD CHOATE

 

I, Judd Choate, pursuant to 28 U.S.C. § 1746, state as follows:

H. I am the Director of Elections for the Colorado Secretary of State, a
position I have held since October 2009.

Ze In my role as Director of Elections, I am familiar with the conduct and
administration of statewide and federal elections in Colorado, which are governed
by the Uniform Election Code of 1992, § 1-1-101, et seq., C.R.S. (2020).

a The statements in this declaration are all based on my own personal
knowledge, including information gathered by employees of the Secretary of State’s
Office.

Colorado’s mail ballot voting system
 

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4. In 2013, Colorado passed the Voter Access and Modernized Elections
Act, 2013 Sess. Laws 681, under which all active registered voters are sent a mail
ballot. The Colorado General Assembly enacted this measure because “the people’s
self-government through the electoral process is more legitimate and better
accepted when voter participation increases” and decided that “expand[ing] the use
of mail ballot elections” was an appropriate “means to increase voter participation.”
Id.

5} Since 2014, Colorado has relied on the U.S. mail system to facilitate its
elections. In the 2020 state primary election, Colorado counties used the U.S. mail
system to deliver ballots to 3,306,300 voters.

6. Every active registered voter in Colorado automatically receives a mail
ballot packet delivered through the U.S. Mail to the voter’s current registered
mailing address. The ballots generally must be mailed between 18 and 25 days
before an election and there is no need for a registered voter to request a mail
ballot. § 1-7.5-107(3)(a), C.R.S.

Te Colorado elections utilize what is referred to as a “vote by mail”
system. In other States where registered voters must proactively request a mail
ballot, either with or without offering an excuse depending on the State, such voters
are referred to as “absentee voters.” A voter who participates in Colorado’s “vote by
mail” system and an “absentee voter” in another State’s system are substantially

different.

 
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8. Referring to a Colorado mail ballot as an “absentee’ ballot” wrongly
suggests that Colorado voters must affirmatively request a ballot to receive one
through the mail.

9. A Colorado voter who automatically receives a mail ballot may return
their voted ballot by mail, or instead may return their voted ballot to a voter service
and polling center staffed by local election officials or place it in one of 368 secure
drop-boxes conveniently located throughout Colorado. In the November 6, 2018
General Election, less than 25% of Colorado voters returned their voted ballots
through the U.S. mail system.

10. Referring to a Colorado mail ballot as a “mail-in ballot” and
recommending that a Colorado voter “mail [their] ballot at least 7 days before
Election Day” wrongly suggests that the only way to return a voted ballot is through
the U.S. mail system.

11. | A Colorado voter who automatically receives a mail ballot also may
elect to instead vote in-person at a voter service and polling center.

12. Referring to a Colorado mail ballot as a “mail-in ballot” and
recommending that a Colorado voter “mail [their] ballot at least 7 days before
Election Day’ in the official notice wrongly suggests that the only way to vote is

through the U.S. mail system.

13. If the official notice is read as requiring Colorado voters to return their

voted ballots through the U.S. mail system, it will shorten the time for voters to
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consider and cast their votes and effectively end the November 3, 2020 General
Election on October 27, 2020. And those voters who return their voted ballots
through the U.S. mail system within 7 days of Election Day because they
mistakenly believe that doing so is the only permissible option run the risk of being
disenfranchised if their ballots are received by county clerks after 7:00 p.m. on
November 3, 2020.

§ 1-7.5-107(4)(b)(ID, C.R.S.

14. Ballots must be sent to registered active Colorado military and
overseas voters no later than 45 days before the election, which is September 19,
2020 for the November 3, 2020 General Election. § 1-8.3-110(1), C.R.S. This
deadline is required by the federal Military and Overseas Voter Empowerment Act,
52 U.S.C. § 20302(a)(8)(A), and is not flexible.

15. Paper ballots are automatically sent to registered military and
overseas voters by mail unless the voter has requested that his or her ballot be
transmitted electronically by either facsimile, electronic mail delivery, or, if offered
by the voter’s jurisdiction, other electronic means. § 1-8.3-110(2), C.R.S.; 52 U.S.C.
§ 20302(f) (requiring transmission of ballots to military and overseas voters by
electronic means if requested).

16. A military and overseas voter who has requested an electronically
transmitted ballot will automatically receive one and does not need to request a

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absentee’ ballot.”

“mail-in ballot” or

 

 
 

 

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17. If the official notice is read as requiring Colorado voters to return their
voted through the U.S. mail system, those military and overseas voters who have
requested an electronically transmitted ballot may forgo their right under
Colorado’s Uniform Military and Overseas Voters Act, § 1-8.3-101, et seg., C.R.S.
(2020), to receive and return their voted ballots electronically.

18. Overseas voters who forgo electronic transmission and return their
ballot through the mail run the risk that their ballots will be received after the 8-
day grace period post-Election Day because overseas mail delivery and return takes
a much longer period of time, in which case their ballots will not be counted and
they will be disenfranchised.

19. There are currently 9,940 active registered military and military
dependent voters and 22,046 active registered overseas voters. Of the active
registered military and military dependent voters, 5,385 (54%) have requested
electronic ballot transmission. Of the active overseas voters 17,567 (80%) have
requested electronic transmission.

Actions by the United States Postal Service

20. On Thursday, September 10, 2020, the Elections Director of the
Oregon Secretary of State’s Office, Steve Trout, texted me a photograph of an
official notice received by an Oregon voter. Trout said that he had learned that the
United States Postal Service was mailing this official notice to every household in

the United States. A copy of this official notice is included as Exhibit A.
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21. In Colorado, this mailing would include approximately 2.1 million

households in the state of Colorado.

 

22. The official notice contains a checklist for “Postal Customer[s]” who
“plan to vote by mail.” One checklist item directs such “Postal Customer{[s]” to
“Request your mail-in ballot (often called “absentee” ballot) at least 15 days before
Election Day.”

23. If delivered to Colorado households, this official notice would cause
widespread confusion among voters and non-voters, and potentially disenfranchise
numerous Colorado voters for the reasons discussed below.

24. On Friday, September 11, 2020, I sent an email to several Postal
Service management-level personnel explaining that the references to “mail-in
ballot” and “absentee’ ballot” in the official notice were inconsistent with Colorado’s
“vote by mail” system, and asking that its mailing be delayed or canceled to avoid
causing confusion and sowing distrust of Colorado’s election system.

25. That same day, I received a call from Justin Glass, the Director of the
Postal Service’s Election Mail Operations. Glass confirmed that every household in
Colorado will receive the postcard. He stated that while the Postal Service is aware
that every State conducts its elections differently, it sought to convey a single

message to all U.S. households—namely, that voters in those households prepare

for the upcoming election by, among other things, requesting a “mail-in ballot.”

 
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26. During this call, Glass admitted that the official notice incorrectly
directs Colorado voters to request a “mail-in ballot” or “‘absentee’ ballot” no later
than 15 days prior to the election. Even before I described Colorado’s “vote by mail”

system, Glass stated he understood that the Postal Service was directing Colorado

voters to take an unnecessary step that is not required by Colorado law.

 

27. IT asked Glass to delay or cancel the mailing of the official notice in
Colorado. Glass said that while he could not postpone or cancel the mailing, he was
open to working with our office on messaging to correct the error to Colorado voters,
through a joint editorial or joint press conference. In my experience, such
corrections do not fully undo the confusion caused by the erroneous message. For
example, in the 2018 General Election, the mailing of over 100,000 Adams County
ballots was delayed due to a vendor’s error in delivering ballots to the Postal
Service. Both the Secretary of State and the Adams County Clerk and Recorder
undertook a media blitz to assure voters that ballots were only temporarily delayed.
Despite those sustained efforts, Adams County and the Secretary of State’s Office
received hundreds, if not a thousand or more voter contacts concerning those
ballots.

28. On Friday, September 11, 2020, I also spoke to David Rupert, a public
information officer for the Postal Service’s western region, and asked him to

intervene to stop the mailing. He contacted the Denver General Mail Facility to

determine if the official notices had entered the mail stream and texted me that
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most of Colorado official notices were still at the Denver General Mail Facility and
only a small number addressed to households in Colorado Springs were in the mail
stream. He then stated that in his discussions he had learned that the Denver
General Mail Facility would temporarily delay the official notice mailing. I asked
that it be permanently canceled. Rupert could not confirm that the delay would
eventually turn into a cancelation.

Impacts on Colorado voters

29. In Colorado’s “vote by mail” system where a mail ballot is
automatically sent to every active registered voter, the direction in the official
notice to “[rJequest your mail-in ballot (often called “absentee” ballot) at least 15
days before Election Day” will lead to confusion, distrust, and a flood of urgent
questions and complaints directed to state and local election officials.

30. Uncertainty will exist about whether a voter’s registration is still
current and whether the Postal Service will withhold the automatic delivery of that
voter’s mail ballot due to the conflict between the official notice’s direction that
voters must request a “mail-in ballot” and Colorado’s law requiring mail ballots to
automatically be sent to all active registered voters.

31. Questions will be asked about whether Colorado law has changed as a
result of the recent national conversation about the wisdom of voting by mail, and

whether federal law now requires a Colorado voter to request a “mail-in ballot” and

return their voted ballot only through the U.S. mail system.
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32. Further, because this mailing will go to all Colorado households
instead of only to registered voters, it will necessarily reach non-U.S. citizens, non-
Colorado residents, as well as others living in Colorado who are not qualified to
vote. Thus, the mailing will be over-inclusive of the target population of Colorado
voters, creating the possibility that those legally prohibited from voting, like a
foreign national living in Colorado, may mistakenly believe they are qualified to
vote and request a mail ballot.

Impacts on military and overseas voters

33. Under Colorado law, registered active every military and overseas

voter is automatically mailed or electronically sent a ballot no later than 45 days

 

before the General Election. For the November 3, 2020 General Election, that date
is September 19, 2020. Colorado’s military and overseas voters have the choice of
requesting a paper or electronic ballot. The official notice will be forwarded to
international addresses and received by Colorado’s military and overseas voters.
Over half of Colorado’s military and overseas voters request electronic ballots and
return them using the same transmission method. The official notice language may
be confusing to these voters, suggesting that their only choice is to request a paper
ballot sent through the U.S. mail, and that they have until 15 days before Election
Day to make a request for that ballot, which is inaccurate because a military and

overseas voter may request, receive, and return a voted electronic ballot up to 7:00

p.m. on Election Day. In addition, the official notice will to go to Colorado
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households in which family members or loved ones of military and overseas voters
reside, causing additional confusion and concern on behalf of those military and
overseas voters.

Impacts on election administration

34. This mailing will cause voter confusion and distrust in Colorado’s
election system. This will lead to a noticeable and unmanageable increase in voter
outreach to Colorado’s county clerk and recorders, as well as the Secretary of State’s
Office, during the very time that election officials must create and print ballots,
train election judges, and generally prepare for the election. Because not all
concerns can be addressed in the short amount of time before the election, this
confusion will, in my experience, lead to reduced voter participation in the
upcoming election and concerns that the official results do not accurately represent
the will of those who attempted to vote.

35. On Friday, September 11, 2020, I conducted a phone call with the
leadership of the Colorado County Clerks Association (CCCA). I described the
official notice that likely would be received by Colorado voters. These CCCA leaders
expressed grave concerns that this official notice will harm voters’ faith in
Colorado's election process by suggesting that Colorado’s system of sending every
active registered voter a ballot is wrong or somehow conflicts with federal law or

USPS policies. Further, some voters will be confused by the absentee language,

causing them to reach out to Colorado’s county election officials or the Department

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of State. Given that this mailing will reach 2.1 million households, if even 1% of

 

those households contact an election official with a question, that’s 21,000
unnecessary phone calls and other inquiries on the part of our voters. At three
minutes per call, that’s 1,050 hours, or 43.8 days of work addressing a problem
easily prevented by canceling the official notice mailing.

36. Thus, a temporary restraining order barring the Postal Service from
mailing the official notice containing inaccurate and misleading information is
necessary to prevent confusion among Colorado voters and non-voters, and prevent
the irreparable harm caused by the resulting disenfranchisement of Colorado
voters.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 12th day of September, 2020.

 

Judd Choate

 
